Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 1 of 28. PageID #: 492550




                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                           MDL No. 2804

THIS DOCUMENT RELATES TO:                   Case No. 1:17-md-2804

Cleveland Bakers and Teamsters Health       Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue Pharma
L.P., et al., Case No. 1:18-op-45432-DAP




    MEMORANDUM IN SUPPORT OF DISTRIBUTORS’ MOTION TO CERTIFY
     UNDER 28 U.S.C. § 1292(b) THE COURT’S FEBRUARY 21, 2020 ORDER
    DENYING IN PART THEIR MOTION TO DISMISS THIRD-PARTY PAYOR
       CLAIMS, FOR PURPOSES OF SEEKING IMMEDIATE APPEAL OF
   THE COURT’S RULINGS THAT DENIED DISMISSAL OF THE RICO CLAIMS
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 2 of 28. PageID #: 492551




                                                    TABLE OF CONTENTS



PRELIMINARY STATEMENT .................................................................................................... 1
CERTIFICATION FOR IMMEDIATE INTERLOCUTORY APPEAL OF THE RICO RULINGS INVOLVING
THIRD-PARTY PAYORS IS WARRANTED ........................................................................................... 4
I.     The Denial of Distributors’ Motion to Dismiss the Third-Party Payors’ RICO Claims
       Involved Controlling Questions of Law on Causation and Injury. ......................................... 4
II.    There Is Substantial Ground for Difference of Opinion on Both the RICO Causation Ruling
       and the RICO Injury Ruling. ................................................................................................... 5
       A. Jurists Could Reasonably Disagree Regarding Whether Third-Party Payors’ Claims
          Meet the RICO Direct Injury and Proximate Causation Requirement. ........................... 5
             1. Increased expenditures for opioids prescribed by physicians for individuals ............ 6
             2. Increased expenditures for medical treatment incurred by individuals who misused
                opioids ....................................................................................................................... 13
       B. Jurists Could Reasonably Disagree Regarding Whether Third-Party Payors’ Claims
          Meet the RICO “Business or Property” Injury Requirement. ........................................ 16
III.     Immediate Appeal May Materially Advance the Ultimate Termination of the Litigation. 18
CONCLUSION ............................................................................................................................. 20
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 3 of 28. PageID #: 492552




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Adams v. Bradshaw,
   2010 WL 816532 (N.D. Ohio Mar. 4, 2010) .............................................................................1

Ahrenholz v. Bd. of Trs. of Univ. of Ill.,
   219 F.3d 674 (7th Cir. 2000) .....................................................................................................4

Allegheny Gen. Hosp. v. Philip Morris, Inc.,
    228 F.3d 429 (3d Cir. 2000).....................................................................................................13

Ass’n of Wash. Pub. Hosp. Dists. v. Philip Morris Inc.,
   241 F.3d 696 (9th Cir. 2001) ...................................................................................................13

Brown v. Ajax Paving Indus., Inc.,
   752 F.3d 656 (6th Cir. 2014) ...................................................................................................17

City of Cleveland v. Ameriquest Mortg. Sec.,
    615 F.3d 496 (6th Cir. 2010) ...................................................................................................15

Desiano v. Warner-Lambert Co.,
   326 F.3d 339 (2d Cir. 2003).......................................................................................................7

Edmondson v. AZ Petition Partners, LLC,
   2012 WL 3637769 (E.D. Ky. Aug. 22, 2012)..........................................................................16

Fiala v. B & B Enters.,
   738 F.3d 847 (7th Cir. 2013) ...................................................................................................12

Gucwa v. Lawley,
   731 F. App’x 408 (6th Cir. 2018) ............................................................................................16

Harter v. Beach Oil Co.,
   2011 WL 2358552 (M.D. Tenn. June 9, 2011)..........................................................................3

Hemi Grp., LLC v. City of New York,
  559 U.S. 1 (2010) .................................................................................................................5, 15

Holmes v. Secs. Inv’r Prot. Corp.,
   503 U.S. 258 (1992) .......................................................................................................5, 13, 15

In re Avandia Mktg., Sales Practices & Prods. Liab. Litig.,
    804 F.3d 633 (3d Cir. 2015).....................................................................................................10



                                                                 - ii -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 4 of 28. PageID #: 492553




In re Baker & Getty Fin. Servs., Inc.,
    954 F.2d 1169 (6th Cir. 1992) ......................................................................................... passim

In re Blue Cross Blue Shield Antitrust Litig.,
    2018 WL 3326850 (N.D. Ala. June 12, 2018) .........................................................................20

In re Celexa & Lexapro Mktg. & Sales Practices Litig.,
    915 F.3d 1 (1st Cir. 2019) ........................................................................................................10

In re Insulin Pricing Litig.,
    2019 WL 643709 (D.N.J. Feb. 15, 2019) ................................................................................11

In re Miedzianowski,
    735 F.3d 383 (6th Cir. 2013) ...................................................................................................12

In re Nat’l Prescription Opiate Litig.,
    2018 WL 6628898 ...................................................................................................................17

In re Neurontin Marketing & Sales Practices Litig.,
    712 F.3d 21 (1st Cir. 2013) ..................................................................................................9, 10

In re Trump,
    874 F.3d 948 (6th Cir. 2017) .............................................................................................1, 4, 5

In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & Prod. Liab. Litig.,
    2010 WL 3119499 (S.D. Ill. Aug. 5, 2010) ...............................................................................8

Int’l Bhd. of Teamsters, Local 734 Health & Welfare Trust Fund v. Philip Morris
    Inc., 196 F.3d 818 (7th Cir. 1999) .....................................................................................14, 15

Ironworkers Local Union 68 v. AstraZeneca Pharm., LP,
    634 F.3d 1352 (11th Cir. 2011) .................................................................................................7

Jackson v. Sedgwick Claims Mgmt. Servs., Inc.,
   731 F.3d 556 (6th Cir. 2013) .........................................................................................2, 16, 17

James v. Meow Media, Inc.,
   90 F. Supp. 2d 798 (W.D. Ky. 2000) .......................................................................................16

Johnson v. Jones,
   515 U.S. 304 (1995) ...................................................................................................................2

Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc.,
   191 F.3d 229 (2d Cir. 1999)...............................................................................................14, 15

Lyons v. Philip Morris Inc.,
   225 F.3d 909 (8th Cir. 2000) .............................................................................................14, 15



                                                                 - iii -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 5 of 28. PageID #: 492554




Malamud v. Sinclair Oil Corp.,
   521 F.2d 1142 (6th Cir. 1975) ...................................................................................................4

McCarthy v. Recordex Serv., Inc.,
  80 F.3d 842 (3d Cir. 1996).......................................................................................................12

Negron v. United States,
   553 F.3d 1013 (6th Cir. 2009) ...............................................................................................2, 8

Newsome v. Young Supply Co.,
   873 F. Supp. 2d 872 (E.D. Mich. 2012).................................................................................4, 5

Or. Laborers-Emp’rs Health & Welfare Trust Fund v. Philip Morris Inc.,
    185 F.3d 957 (9th Cir. 1999) .........................................................................................9, 14, 15

Ouwinga v. Benistar 419 Plan Servs., Inc.,
  694 F.3d 783 (6th Cir. 2012) ...................................................................................................18

Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharm.
   Co., 943 F.3d 1243 (9th Cir. 2019) ............................................................................................9

Perry v. American Tobacco Co.,
   324 F.3d 845 (6th Cir. 2003) ...................................................................................................14

Popular Leasing U.S.A., Inc. v. Forman,
   2009 WL 2969519 (D.N.J. Sept. 14, 2009) .............................................................................19

Regence Blueshield v. Philip Morris Inc.,
   5 F. App’x 651 (9th Cir. 2001) ................................................................................................13

Se. Laborers Health & Welfare Fund v. Bayer Corp.,
    444 Fed. App’x 401 (11th Cir. 2011) ........................................................................................7

Se. Laborers Health & Welfare Fund v. Bayer Corp.,
    655 F. Supp. 2d 1270 (S.D. Fla. 2009) ......................................................................................8

Sergeants Benevolent Ass’n Health & Welfare Fund v. Sanofi-Aventis U.S. LLP,
   806 F.3d 71 (2d Cir. 2015).........................................................................................................7

Serv. Emp. Int’l Union Health & Welfare Fund v. Philip Morris Inc.,
   249 F.3d 1068 (D.C. Cir. 2001) ...............................................................................................13

Sidney Hillman Health Center of Rochester v. Abbott Labs.,
   873 F.3d 574 (7th Cir. 2017) .................................................................................................6, 7

Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc.,
    171 F.3d 912 (3d Cir. 1999).....................................................................................................14



                                                                - iv -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 6 of 28. PageID #: 492555




Sterk v. Redbox Automated Retail, LLC,
    672 F.3d 535 (7th Cir. 2012) ...............................................................................................4, 19

Susan B. Anthony List v. Driehaus,
   2011 WL 5299378 (S.D. Ohio Nov. 2, 2011)..........................................................................20

Tex. Carpenters Health Benefit Fund v. Philip Morris Inc.,
   199 F.3d 788 (5th Cir. 2000) ...................................................................................................14

Trollinger v. Tyson Foods, Inc.,
   370 F.3d 602 (6th Cir. 2004) ...................................................................................................11

UFCW Local 1776 v. Eli Lilly & Co.,
  620 F.3d 121 (2d Cir. 2010).......................................................................................................7

United Food & Commercial Workers Cent. Pa. & Reg’l Health & Welfare Fund
   v. Amgen, Inc., 400 F. App’x 255 (9th Cir. 2010) ...............................................................9, 13

United Food & Commercial Workers Unions, Emp’rs Health & Welfare Fund v.
   Philip Morris, Inc., 223 F.3d 1271 (11th Cir. 2000) ...............................................................13

United States v. Harchar,
   331 B.R. 720 (N.D. Ohio 2005) .................................................................................................4

United States v. Philip Morris USA Inc.,
   2004 WL 1514215 (D.D.C. June 25, 2004) .............................................................................19

W. Tenn. Chapter of Assoc. Builders & Contractors, Inc. v. City of Memphis,
   138 F. Supp. 2d 1015 (W.D. Tenn. 2000)..........................................................................18, 19

Winnett v. Caterpillar, Inc.,
   2007 WL 2123905 (M.D. Tenn. July 20, 2007) ......................................................................19

Statutes

18 U.S.C. § 1962 ....................................................................................................................4, 5, 18

18 U.S.C. § 1964(c) .........................................................................................................4, 5, 11, 16

28 U.S.C. § 1292(b) ............................................................................................................... passim

Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961 et seq. ................ passim




                                                                   -v-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 7 of 28. PageID #: 492556




       Defendants AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson

Corporation (“Distributors”) move this Court to certify under 28 U.S.C. § 1292(b) the Court’s

February 21, 2020 Opinion and Order, Dkt. 3177 (“Order”) denying in part their motion to dismiss

claims asserted by Cleveland Bakers and Teamsters Health and Welfare Fund and Pipe Fitters

Local Union No. 120 Insurance Fund (collectively, the “Third-Party Payors”), for purposes of an

immediate appeal of the Court’s rulings that denied dismissal of the RICO claims. Specifically,

Distributors seek certification of the Order so they may request an interlocutory appeal of the

following issues:

       1. Whether the Third-Party Payors’ allegations meet RICO’s direct injury and proximate

causation requirement.

       2. Whether the Third-Party Payors’ allegations satisfy RICO’s requirement of injury to

“business or property.”

                                PRELIMINARY STATEMENT

       Distributors request certification to seek interlocutory appellate review of the rulings

entered by this Court denying their motion to dismiss the RICO claims by Third-Party Payors. 1

Those RICO rulings meet the requirements for Section 1292(b) certification because they present

(1) controlling questions of law; (2) there is “substantial ground for difference of opinion” on the

questions; and (3) an immediate appeal “may materially advance the ultimate termination of the

litigation.” 28 U.S.C. § 1292(b); In re Trump, 874 F.3d 948, 951 (6th Cir. 2017).

       This Court itself has recognized the deep Circuit split involving the first question on which

Distributors request certification—whether third-party payors’ claims meet RICO’s direct injury


1
  A “district court may grant certain issues for interlocutory appeal while denying others.” Adams
v. Bradshaw, 2010 WL 816532, at *2 (N.D. Ohio Mar. 4, 2010) (citing League of Women Voters
of Ohio v. Brunner, 548 F.3d 463, 472–73 (6th Cir. 2008)).
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 8 of 28. PageID #: 492557




and proximate causation requirement, with six different Circuits having weighed in on that

disagreement. Order at 16. A legal ruling involving a Circuit split is a perfect candidate for Section

1292(b) certification because the split necessarily demonstrates that there is substantial ground for

difference of opinion. See, e.g., Negron v. United States, 553 F.3d 1013, 1015 (6th Cir. 2009)

(motion to certify granted “considering the circuit split on the issue”); In re Baker & Getty Fin.

Servs., Inc., 954 F.2d 1169, 1172 (6th Cir. 1992) (granting “permission to take an interlocutory

appeal … [as] the circuits are split on this issue”). And this Court’s ruling presents an even

stronger ground for difference of opinion because Distributors are differently situated than were

the manufacturer defendants in the cases comprising the Circuit split on which this Court relied.

Distributors are not alleged to have made marketing misrepresentations to the Third-Party Payors

or anyone else regarding safety, efficacy, or addictive properties of opioid medications or to have

otherwise caused doctors to over-prescribe them.

       There also is substantial ground for difference of opinion on the second question on which

Distributors request certification—whether the allegations by the Third-Party Payors satisfy

RICO’s requirement of injury to “business or property.” The Third-Party Payors seek

reimbursement for expenditures made for individual patients’ medical treatment. A jurist could

reasonably conclude that such claims cannot survive a motion to dismiss based on the Sixth

Circuit’s holding that RICO liability does not extend to claims for “personal injuries” or claims

for “pecuniary losses flowing from those personal injuries.” Jackson v. Sedgwick Claims Mgmt.

Servs., Inc., 731 F.3d 556, 565 (6th Cir. 2013) (en banc).

       The other two considerations for interlocutory appeal are readily met here as well. The

RICO rulings plainly involve “questions of law”—and they are “controlling” because appellate

resolution of those questions would “simplify, or more appropriately direct, the future course of



                                                -2-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 9 of 28. PageID #: 492558




litigation,” thereby “reduc[ing] the burdens of future proceedings.” Johnson v. Jones, 515 U.S.

304, 309 (1995). “An interlocutory appeal is favored where reversal would substantially alter the

course of the district court proceedings or relieve the parties of significant burdens,” as would be

the case here. Harter v. Beach Oil Co., 2011 WL 2358552, at *2 (M.D. Tenn. June 9, 2011).

        Certification of the RICO rulings for immediate appellate review also “may materially

advance the ultimate termination of the litigation” because early appellate resolution of these key

legal questions will streamline the case by eliminating the RICO claims or, at minimum, clarify

the contours of those claims. Either way, an appellate decision will assist in decreasing disputes

over the scope of discovery and trial preparation. It also could provide guidance for other third-

party payor cases currently pending before this Court. Finally, unless and until the Sixth Circuit

weighs in on Distributors’ challenges to the RICO claims, the parties’ very different calculations

regarding the merits of those claims—and the prospect of mandatory treble damages—will

continue to be a significant obstacle to any meaningful discussion regarding the possibility of

resolving the litigation. 2




2
   Unlike Distributors’ previous request for Section 1292(b) certification in the Summit County
case, there is no pending trial schedule here and so there is no concern about any burdens of
appellate briefing in the context of an approaching trial. See Dkt. 1283 at 2 (denying motion on
grounds of additional burden given trial scheduling). A certification application does not
automatically stay proceedings in this Court. See 28 U.S.C. § 1292(b) (“application for an appeal
hereunder shall not stay proceedings in the district court unless the district judge or the Court of
Appeals or a judge thereof shall so order”). Although Distributors would favor a stay, it will be
up to this Court to determine whether one is appropriate. Distributors do not intend to seek a stay
from the Court of Appeals if this Court certifies an interlocutory appeal but does not grant a stay.
                                               -3-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 10 of 28. PageID #: 492559




     CERTIFICATION FOR IMMEDIATE INTERLOCUTORY APPEAL OF THE RICO RULINGS
                  INVOLVING THIRD-PARTY PAYORS IS WARRANTED

I.     The Denial of Distributors’ Motion to Dismiss the Third-Party Payors’ RICO
       Claims Involved Controlling Questions of Law on Causation and Injury.

       The Court’s denial of the motion to dismiss the Third-Party Payors’ RICO claims involved

purely legal questions: whether the Complaint’s allegations meet the requirements that a plaintiff

bringing a RICO claim under 18 U.S.C. § 1964(c) [1] must be injured in its “business or property”

and [2] that such injury be “by reason of,” i.e., be directly and proximately caused by, the

defendant’s predicate RICO violations under 18 U.S.C. § 1962. Order at 15 (quoting 18 U.S.C.

§ 1964(c)). Courts have recognized that these types of rulings are appropriate candidates for

interlocutory appellate review. See, e.g., Malamud v. Sinclair Oil Corp., 521 F.2d 1142, 1146

(6th Cir. 1975) (accepting immediate appeal to determine whether plaintiff alleged injury to

“business or property” under Section 4 of the Clayton Act); see also Ahrenholz v. Bd. of Trs. of

Univ. of Ill., 219 F.3d 674, 676 (7th Cir. 2000) (questions of law include “the meaning of a statutory

… provision”); United States v. Harchar, 331 B.R. 720, 724 (N.D. Ohio 2005) (“Statutory

interpretation … involves pure questions of law.”). And the “sufficiency of a complaint is a

question of law” for purposes of 28 U.S.C. § 1292(b). See, e.g., In re Trump, 874 F.3d at 951

(quoting Ctr. for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 369 (6th Cir. 2011)).

       These legal questions at the center of the Court’s RICO rulings are undoubtedly

controlling. The “Sixth Circuit has … set a low bar for a determination that a question of law is

‘controlling’ in the context of a motion for certification under § 1292(b).” Newsome v. Young

Supply Co., 873 F. Supp. 2d 872, 875–76 (E.D. Mich. 2012). A question is controlling even if

appellate review would not result in dismissal of the entire action. See In re Baker, 954 F.2d at

1172 (“The resolution of an issue need not necessarily terminate an action … to be ‘controlling’”

(quoting Klinghoffer v. S.N.C. Achille Lauro, 921 F.2d 21, 24 (2d Cir. 1990))); see also Sterk v.

                                                -4-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 11 of 28. PageID #: 492560




Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir. 2012) (“neither the statutory language

nor the case law requires that if the interlocutory appeal should be decided in favor of the appellant

the litigation will end then and there”). Instead, “[a]ll that must be shown … is that resolution of

the issue on appeal could materially affect the outcome of the litigation in the district court.”

Newsome, 873 F. Supp. 2d at 876 (quotation omitted); accord In re Baker, 954 F.2d at 1172 n.8;

In re Trump, 874 F.3d at 951. This criterion plainly is satisfied here—as this Court recognized, if

“Plaintiffs failed to adequately plead proximate cause … their [RICO] claims should be

dismissed.” Order at 14.

II.    There Is Substantial Ground for Difference of Opinion on Both the RICO
       Causation Ruling and the RICO Injury Ruling.

       A “substantial ground for difference of opinion exists where reasonable jurists might

disagree on an issue’s resolution.” In re Trump, 874 F.3d at 952 (quoting Reese v. BP Exploration,

Inc., 643 F.3d 681, 688 (9th Cir. 2011)). As demonstrated below, there can be no doubt that jurists

might reasonably disagree on the legal sufficiency of the Third-Party Payors’ RICO claims against

Distributors.

       A.       Jurists Could Reasonably Disagree Regarding Whether Third-Party Payors’
                Claims Meet the RICO Direct Injury and Proximate Causation
                Requirement.

       Supreme Court precedent is clear that to sufficiently allege injury “by reason of” a RICO

predicate violation, 18 U.S.C. § 1964(c), a plaintiff must allege that a pattern of racketeering

activity, 18 U.S.C. § 1962, “was a ‘but for’ cause of the claimed injury, and was the proximate

cause as well.” Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9 (2010) (quoting Holmes v.

Secs. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992)). Thus, a plaintiff must allege a “direct relation

between the injury asserted and the injurious conduct alleged.” Holmes, 503 U.S. at 268. A link

between a predicate RICO violation and an injury that is “too remote” or “purely contingent” will


                                                -5-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 12 of 28. PageID #: 492561




not suffice. Id. at 268, 271; accord Hemi, 559 U.S. at 10 (theories of causation are inadequate if

they “go beyond the first step”).

        Here, as this Court acknowledged, the Third-Party Payors allege that Distributors injured

them in two ways. They allege Distributors caused them harm due to (1) increased expenditures

for opioids that physicians prescribed for individuals; and (2) increased expenditures for medical

treatment incurred by individuals who misused opioids. See Order at 11. There is substantial

ground for difference of opinion as to whether the Third-Party-Payors’ allegations relating to either

alleged injury meet RICO’s direct injury and proximate causation requirement. Indeed, there is a

deep circuit split that bears on this issue.

                1.      Increased expenditures for opioids prescribed by physicians for
                        individuals

        Third-Party Payors allege that “Defendants’ misrepresentations and failures to comply with

their antidiversion obligations induced” the Third-Party Payors “to make hundreds of thousands

of dollars of payments for opioids which [they] would not have otherwise made.” Order at 11.

There is substantial ground for difference of opinion regarding whether those allegations are

sufficient to plead direct injury and proximate causation under RICO as to Distributors.

        There is a deep Circuit split involving that RICO causation issue, with the First, Third, and

Ninth Circuits ruling in favor of various plaintiffs, and the Seventh and Eleventh Circuits ruling in

favor of various defendants, and within the Second Circuit, one panel ruling for various defendants

on RICO proximate causation and another ruling for plaintiffs on a state law proximate causation

question. This Court specifically acknowledged that split, noting that the several circuits that have

“appl[ied] RICO’s proximate causation analysis to [third-party payor] claims against

pharmaceutical companies have reached varying conclusions concerning the viability of these

claims.” Order at 16.


                                                -6-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 13 of 28. PageID #: 492562




       The Second, Seventh, and Eleventh Circuits have held that allegations like those made in

this case do not meet RICO’s direct injury and proximate cause requirement. In Sidney Hillman

Health Center of Rochester v. Abbott Labs., 873 F.3d 574, 578 (7th Cir. 2017), the Seventh Circuit

affirmed the dismissal of third-party payor RICO claims against a manufacturer for its off-label

promotion of a product. The court explained that the payors could not be “directly injure[d]” under

RICO because they were not “the initially injured parties.” Id. at 576. “Payors part with money,

to be sure, but … [t]he patients’ health and financial costs come first in line temporally; that

pharmacies then send bills to Payors, which cover the remainder of the expense, does not make

those Payors the initial losers from the promotional scheme.” Id. The payors, in other words, are

“several levels removed from the causal sequence.” Id. at 578 (quoting Holmes, 503 U.S. at 271–

72).

       In reaching its decision in Sidney Hillman, the Seventh Circuit agreed with rulings by the

Second Circuit, which the Seventh Circuit explained had “h[e]ld that there are so many layers, and

so many independent decisions, between [alleged misconduct by pharmaceutical companies] and

payment [by third-party payors] that the causal chain is too long to satisfy the Supreme Court’s

requirements” regarding RICO causation. Id. (discussing Sergeants Benevolent Ass’n Health &

Welfare Fund v. Sanofi-Aventis U.S. LLP, 806 F.3d 71 (2d Cir. 2015), and UFCW Local 1776 v.

Eli Lilly & Co., 620 F.3d 121 (2d Cir. 2010))). 3 The Seventh Circuit also emphasized that the

Eleventh Circuit “agree[s] and deem[s] this so straightforward that [it has] issued nonprecedential

decisions.” Sidney Hillman Health Ctr., 873 F.3d at 578 (discussing Se. Laborers Health &


3
  The panel of the Second Circuit on which this Court relied as supporting the other side of the
split, Desiano v. Warner-Lambert Co., 326 F.3d 339 (2d Cir. 2003), addressed “not the law of
RICO; [but] rather, the law of New Jersey.” Id. at 349. And Desiano was another case in which
the court’s analysis turned on a manufacturer’s “misrepresentation of [their drug’s] safety,” as
discussed below. Id.

                                               -7-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 14 of 28. PageID #: 492563




Welfare Fund v. Bayer Corp., 444 Fed. App’x 401 (11th Cir. 2011)); see also Ironworkers Local

Union 68 v. AstraZeneca Pharm., LP, 634 F.3d 1352, 1370 (11th Cir. 2011) (Martin, J. concurring)

(“The independent decisions of the physicians and other intermediaries involved … eviscerates

the chain of causation necessary [for a third-party payor] to demonstrate a RICO violation.”). 4

       The First, Third, and Ninth Circuits have reached contrary conclusions, and that Circuit

split is reason enough to certify an immediate appeal here. Indeed, given the divergent views of

the Second, Seventh, and Eleventh Circuits, on the one hand, and the First, Third, and Ninth, on

the other, there can be no dispute that jurists could reasonably disagree on the legal issues central

to this Court’s ruling—the disagreement is real, not hypothetical. See, e.g., Negron, 553 F.3d at

1015 (motion to certify granted “considering the circuit split on the issue”); In re Baker, 954 F.2d

at 1172 (similar). Notably, the Sixth Circuit has not yet weighed in on the issue and now is the

time for it to decide whether this Court’s ruling that the First, Third, and Ninth Circuit cases are

more persuasive and should control this case is correct.

       The need for appellate resolution here is even more apparent because the reasoning

underlying the First, Third, and Ninth Circuit decisions adverse to certain manufacturers does not

support the conclusion that the Third-Party Payors in this case have adequately alleged proximate

causation as to Distributors. Those decisions involved claims against manufacturers alleged to

have engaged in fraudulent misrepresentations, and thus are distinguishable from the claims by the


4
  See also, e.g., In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & Prod. Liab. Litig.,
2010 WL 3119499 (S.D. Ill. Aug. 5, 2010) (dismissing third-party payors’ RICO claims against
pharmaceutical company, explaining “the causal link necessarily involves the decision making
process of the patient, the prescribing physician, and the third-party payor. This demonstrates the
attenuation in Plaintiffs’ civil RICO claims.”); Se. Laborers Health & Welfare Fund v. Bayer
Corp., 655 F. Supp. 2d 1270, 1282–84 (S.D. Fla. 2009) (similar dismissal, explaining the “direct
victims of [a pharmaceutical company’s] alleged wrongful activity” are “those patients who
suffered physical injury”; a payor’s attempt to recover payments made for the injurious drug fails
for the reasons of “the tobacco cases”), aff’d, 444 Fed. App’x 401.

                                                -8-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 15 of 28. PageID #: 492564




Third-Party Payors against Distributors—who, as this Court has acknowledged, are not alleged to

have engaged in any such misrepresentations. Order at 16; see also id. at 29 (acknowledging that

Distributors “are not accused of making direct misrepresentations”).

       The Ninth Circuit in Painters & Allied Trades District Council 82 Health Care Fund v.

Takeda Pharmaceutical Co., 943 F.3d 1243 (9th Cir. 2019), addressed third-party payors’ claims

against two pharmaceutical manufacturers for “fraudulent[ly] marketing” a drug, alleging that they

had “intentionally misled” the third-party payors to believe that the product did not increase a

person’s risk of developing a certain type of cancer. Id. at 1248. The plaintiffs alleged that they

“would not have … paid for” the drug had they known of the risk, and they sought to recover for

payments they had made. Id. at 1247, 1251 n.7. On those facts, the Ninth Circuit reasoned that

the third-party payors were “immediate victims of Defendants’ alleged fraudulent scheme” and

had suffered injury independent of any personal injury suffered by the beneficiaries. Id. at 1251–

53. The panel distinguished other Ninth Circuit decisions denying RICO relief to third-party

payors, reasoning that, because plaintiffs alleged fraudulent marketing by the manufacturers on

which the third-party payors directly relied themselves, the chain of causation involved fewer

causal links than other cases. Id. at 1252–53 nn.9–10 (discussing Or. Laborers, 185 F.3d at 961

and United Food & Commercial Workers Cent. Pa. & Reg’l Health & Welfare Fund v. Amgen,

Inc., 400 F. App’x 255, 257 (9th Cir. 2010)).

       The First and Third Circuits likewise addressed whether a pharmaceutical manufacturer’s

fraudulent marketing campaign might directly injure third-party payors. The First Circuit in In re

Neurontin Marketing & Sales Practices Litigation, 712 F.3d 21 (1st Cir. 2013), addressed a third-

party payor suit against a manufacturer for its alleged “fraudulent marketing” of a drug “for off-

label uses,” for which it was allegedly ineffective. Id. at 25. The court concluded that there was



                                                -9-
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 16 of 28. PageID #: 492565




an adequate allegation of direct injury insofar as the drug was alleged to have been “fraudulently

marketed” by the defendant to induce physicians to prescribe the drug for such uses to be paid for

by the third-party payor, whose “employees directly relied on” the defendant’s alleged

misrepresentations “in preparing monographs and formularies.” Id. at 39–40, 47. 5 Similarly, the

Third Circuit in In re Avandia Marketing, Sales Practices & Products Liability Litigation, 804

F.3d 633 (3d Cir. 2015), addressed claims by third-party payors based on a manufacturer’s “alleged

misrepresentation … of the significant safety risks associated with use” of a drug. Id. at 634. The

court found persuasive the third-party payors’ argument that “the misrepresentation” of certain

risks in taking the drug caused them to place the drug in their formulary, which produced “an

economic injury independent of” any injury to users. Id. at 644; see also id. (viewing direct injury

as an “overvaluation” of the market price of the drug due to the third-party payors’ reliance on the

alleged misrepresentations when including it on formularies).

       Whatever the merits of those decisions involving manufacturers who allegedly engaged in

marketing misrepresentations of their products, they do not support the conclusion that Third-Party

Payors in this case adequately pled RICO direct injury and proximate causation as to Distributors.

The crux of the Third-Party Payors’ Complaint here is that “[t]hrough a massive marketing

campaign premised on false and incomplete information, the Marketing Defendants …

engineered a dramatic shift in how and when opioids are prescribed by the medical community,”

and that “formulary recommendations [to the Funds] … were [also] informed by the Marketing

Defendants’ misrepresentations.” Am. Compl. ¶¶ 9, 691 (emphases added). Distributors are not

among the Marketing Defendants, and the Complaint does not allege that Distributors were part


5
  See also In re Celexa & Lexapro Mktg. & Sales Practices Litig., 915 F.3d 1, 6 (1st Cir. 2019)
(relying on Neurontin in another case alleging a manufacturer’s “comprehensive off-label
marketing scheme … aimed at fraudulently inducing doctors to write … prescriptions”).

                                               - 10 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 17 of 28. PageID #: 492566




of the alleged “Opioid Marketing Enterprise” that it claims “concealed the true risks and dangers

of opioids from the medical community and the public.” Id. ¶¶ 839–41.

       The Complaint does not assert that Distributors made misrepresentations to the Third-Party

Payors—or anyone else—regarding safety, efficacy, or addictive properties of opioid medications.

There are no well-pled allegations that Distributors induced doctors to write additional

prescriptions or caused the Third-Party Payors to include opioid products in formularies. Thus,

there is substantial room for disagreement with the Court’s decision to apply the reasoning of the

First, Third, and Ninth Circuit’s decisions to the Third-Party Payors’ claims against Distributors.

       The Complaint suggests implausibly that Distributors’ alleged noncompliance with certain

regulatory provisions misled the Third-Party Payors regarding the extent of opioid diversion, see

id. ¶¶ 761–62, but those regulatory provisions apply to Distributors’ interactions with and

registration by DEA, not to the Third-Party Payors, and the information that Distributors provide

to DEA is non-public and confidential. In any event, such an alleged causal chain would be

speculative, unforeseeable, and well beyond the direct injury and proximate causation required to

state a RICO claim under 18 U.S.C. § 1964(c).

       Those Circuit decisions regarding certain manufacturing defendants also should have had

no bearing here because the Third-Party Payors do not allege that they purchased opioids directly

from Distributors. To the contrary, the Complaint alleges that the Third-Party Payors “indirectly

purchased, paid for, and/or reimbursed for opioids intended for consumption by [their]

participants.” Am. Compl. ¶¶ 28–29; see also Order at 7. Indirect purchasers do not have a valid

RICO cause of action. See, e.g., Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 616 (6th Cir. 2004)

(“Indirect purchasers,” i.e., “plaintiffs who suffer derivative or ‘passed-on’ injuries,” “lack

standing under RICO”); In re Insulin Pricing Litig., 2019 WL 643709, at *9–11 (D.N.J. Feb. 15,



                                               - 11 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 18 of 28. PageID #: 492567




2019) (“The central and dispositive issue in a RICO action is whether plaintiffs are ‘direct

purchasers’”; if not, the plaintiff has no cause of action, “even if the majority of the injury is borne

by the indirect purchaser” (alterations omitted) (quoting Warren Gen. Hosp. v. Amgen Inc., 643

F.3d 77, 95 (3d Cir. 2011), and McCarthy v. Recordex Serv., Inc., 80 F.3d 842, 851 (3d Cir.

1996))). 6

        In sum, the Circuit decisions authorizing third-party payor RICO claims to proceed

involved claims against manufacturers who were alleged to have engaged in a fraudulent scheme

of marketing on which the third-party payors relied, not claims against wholesale distributors who

are not alleged to have engaged in fraudulent marketing to physicians, third-party payors, or

anyone else. See Order at 27 (recognizing that issue of whether non-marketing defendants should

be liable to third-party payors under RICO “is not addressed in [the Third-Party Payors’] cases”).

The absence of authority directly supporting this Court’s ruling to allow the Third-Party Payors to

move forward on their RICO claims against non-marketing Distributors weighs heavily in favor

of certification of the RICO rulings for interlocutory appeal. See Mohawk Indus., 558 U.S. at 111

(“district courts should not hesitate to certify an interlocutory appeal” under Section 1292(b) for

cases that “involve[] a new legal question”); In re Miedzianowski, 735 F.3d 383, 384 (6th Cir.

2013) (“substantial ground for difference of opinion exists” when “the question is difficult, novel

and either a question on which there is little precedent or one whose correct resolution is not

substantially guided by previous decisions” (quotation omitted)).




6
 See also, e.g., Fiala v. B & B Enters., 738 F.3d 847, 851 (7th Cir. 2013) (district court correctly
dismissed RICO claim pursuant to “indirect purchaser” or “indirect victim” rule); McCarthy, 80
F.3d at 855 (“The precepts taught by Illinois Brick and Utilicorp apply to RICO claims, thereby
denying RICO standing to indirect victims.”).
                                                 - 12 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 19 of 28. PageID #: 492568




               2.      Increased expenditures for medical treatment incurred by individuals
                       who misused opioids

       Third-Party Payors also allege as injury, and “seek reimbursement for[,] amounts paid for

opioid-related medical treatment for their members.” Order at 11. Here, too, there is substantial

ground for difference of opinion regarding whether they have adequately pled that Distributors

were a direct and proximate cause of that purported injury.

       Injuries asserted by third-party payors that are “purely contingent” on harm to beneficiaries

are inadequate to support RICO causation. Holmes, 503 U.S. at 721. “The usual … rule is that a

[third-party payor] has no direct cause of action … against one who injures the [payor’s]

beneficiary, imposing increased costs upon the [payor].” United Food & Commercial Workers

Unions, Emp’rs Health & Welfare Fund v. Philip Morris, Inc., 223 F.3d 1271, 1274 & n.7 (11th

Cir. 2000); see Holmes, 503 U.S. at 268–69 (“[A] plaintiff who complained of harm flowing

merely from the misfortunes visited upon a third person by the defendant’s acts [is] generally said

to stand at too remote a distance to recover.”). For that reason, the courts of appeals in the tobacco

litigation all “agreed that [third-party payors such as] union trust funds lack standing to bring …

RICO claims against the tobacco industry to recover their increased expenditures.” Ass’n of Wash.

Pub. Hosp. Dists. v. Philip Morris Inc., 241 F.3d 696, 703 (9th Cir. 2001); accord United Food,

223 F.3d at 1274 (courts of appeals were “uniform[]” in “reject[ing]” RICO claims “brought

against tobacco companies by union health-care funds”). 7


7
  See Serv. Emp. Int’l Union Health & Welfare Fund v. Philip Morris Inc., 249 F.3d 1068, 1069,
1073 (D.C. Cir. 2001) (reversing district court’s failure to dismiss welfare funds’ RICO claim
against tobacco companies; “the alleged harm arising from payment of medical expenses by the
funds … is itself derivative of alleged injuries to individual smokers”); Regence Blueshield v.
Philip Morris Inc., 5 F. App’x 651, 653 (9th Cir. 2001) (similar; “the Plans ... do not have … RICO
standing [as their] claimed damages were not proximately caused by the Tobacco Firms’ unlawful
conduct, but were instead derivative of the personal injuries of smokers afflicted by tobacco-
related illnesses”); Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429, 433, 446 (3d Cir.
2000) (similar; plaintiffs’ “injuries are derivative of the nonpaying patients’ injuries” and thus are
                                                - 13 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 20 of 28. PageID #: 492569




       In Perry v. American Tobacco Co., 324 F.3d 845 (6th Cir. 2003), the Sixth Circuit

“agree[d] with the essential holdings of [these] circuits.” Id. at 849. As the court explained,

because the claims of third-party payors were “purely contingent on harm to the third-party

smokers,” they were “too remote” and “clearly indirect” for purposes of RICO, as were the claims

of individual plan subscribers that were before the court and which the court rejected. Id. at 848–

49 (quotation omitted). A court adhering to Perry and the tobacco cases could reasonably conclude

that the Third-Party Payors here failed to allege causation that meets the requirements of RICO

because their claims are similarly “contingent on harm” to beneficiaries or otherwise “too remote.”

Id.

       Third-Party Payors allege that they made expenditures for medical treatment because

individuals were treated for alleged personal injuries that resulted from “misuse, addiction and/or

overdose.” Am. Compl. ¶ 960; see also id. ¶ 961 (“But for the opioid-addiction epidemic …

Plaintiffs would not have lost money.”). Just as in the tobacco cases, “[w]ithout injury to the




“too remote from, and not proximately caused by, the tobacco companies’ alleged wrongdoing.”);
Lyons v. Philip Morris Inc., 225 F.3d 909, 914 (8th Cir. 2000) (similar; “[t]he [Plans] allege an
indirect injury—that the defendants’ tobacco products cause illnesses in plan beneficiaries who
smoke, and the plans must pay the costs of treating those illnesses”); Tex. Carpenters Health
Benefit Fund v. Philip Morris Inc., 199 F.3d 788, 789–90 (5th Cir. 2000) (similar; we “agree[]
with the essential holdings of [the other] circuit court[s]”); Int’l Bhd. of Teamsters, Local 734
Health & Welfare Trust Fund v. Philip Morris Inc., 196 F.3d 818, 822, 826 (7th Cir. 1999) (similar;
“the law does not “countenance recovery by insurers whose balance sheets are affected by
substances that made their insureds ill”); Laborers Local 17 Health & Benefit Fund v. Philip
Morris, Inc., 191 F.3d 229, 239 (2d Cir. 1999) (similar; “the Funds’ … damages [we]re entirely
derivative of the harm suffered by plan participants as a result of using tobacco products”); Or.
Laborers-Emp’rs Health & Welfare Trust Fund v. Philip Morris Inc., 185 F.3d 957, 967 (9th Cir.
1999) (similar; “[t]o the extent [the plaintiff benefit plans] have suffered injury, their claims are
entirely derivative of the injuries suffered by smokers”); Steamfitters Local Union No. 420 Welfare
Fund v. Philip Morris, Inc., 171 F.3d 912, 932 n.15 (3d Cir. 1999) (similar; the plaintiff funds
could not sue under RICO as they “did not suffer damages” until tobacco companies’ actions “led
to an increased incident of smoking-related illnesses, which in turn led to the Funds’ increased
expenses”).

                                               - 14 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 21 of 28. PageID #: 492570




individual [opioid users], the Funds would not have incurred any increased costs.” Laborers Local

17, 191 F.3d at 239; see also, e.g., Lyons, 225 F.3d at 914 (“The [Plans] allege an indirect injury—

that the defendants’ … products cause illnesses in plan beneficiaries …, and the plans must pay

the costs of treating those illnesses.”). Such expenditures that are “contingent on harm to third

parties” are not direct RICO harms to the third-party payor. Laborers Local 17, 191 F.3d at 239;

see also Int’l Bhd. of Teamsters, 196 F.3d at 826 (RICO does not “countenance recovery by

insurers whose balance sheets are affected by substances that made their insureds ill.”).

       The RICO predicate violations alleged here are also “too remote” from the Third-Party

Payors’ claimed injuries. Hemi, 559 U.S. at 10. Distributors’ alleged failure to prevent diversion

cannot be said to cause direct injury to the Third-Party Payors, but could at most affect

expenditures after many intervening actions and events, including a doctor’s prescription, a

pharmacist’s dispensing, an individual’s diversion of the prescribed medication, personal injury to

an individual using the opioids, medical treatment provided to that individual, and claim

submission by that individual to the Third-Party Payors. See also, e.g., City of Cleveland v.

Ameriquest Mortg. Sec., 615 F.3d 496, 505 (6th Cir. 2010) (RICO claim failed Holmes direct injury

test because numerous independent actors stood between defendants’ alleged misconduct and

plaintiff’s alleged injury). At least two of these intervening acts (diversion and illicit use),

moreover, are criminal violations. That all of these events occur well after Distributors deliver the

medicines to the pharmacies and relinquish any control over them further confirms the too-remote

nature of the Third-Party Payors’ claims. See, e.g., Hemi, 559 U.S. at 1, 11 (RICO directness

requirement not satisfied where alleged injury was contingent on non-parties’ decisions “not to

pay taxes they were legally obligated to pay”); Or. Laborers, 185 F.3d at 965 (“the direct injury

test … wisely limit[s] standing to sue to those situations where the chain of causation leading to



                                               - 15 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 22 of 28. PageID #: 492571




damages is not complicated by the intervening agency of third parties” (quoting Laborers Local

17, 172 F.3d at 233)). 8

       B.      Jurists Could Reasonably Disagree Regarding Whether Third-Party Payors’
               Claims Meet the RICO “Business or Property” Injury Requirement.

       To state a RICO claim under 28 U.S.C. § 1964(c), there also must be adequate allegations

that the purported injury is to the plaintiff’s “business or property.” As this Court acknowledged,

jurists could reasonably disagree with the Court’s decision to allow Third-Party Payors to proceed

with their claim to recover, as injury to their “business or property,” alleged increased expenditures

for payment of medical claims. See Order at 37. Indeed, the Court noted that it “harbors some

doubt regarding some categories of damages that Plaintiffs claim.” Id. Whether the Third-Party

Payors adequately alleged valid RICO injury is a threshold question on which doubt should be

resolved before the case proceeds to discovery.

       The Sixth Circuit held in Jackson v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556,

565 (6th Cir. 2013) (en banc), that Section 1964(c)’s requirement that injury be to “business or

property” forecloses attempts to base RICO claims on “personal injuries” or “pecuniary losses

flowing from those personal injuries.” The Third Party Payors do not allege injury to their business

or property—instead, they allege pecuniary losses flowing from personal injuries to individuals.

See Gucwa v. Lawley, 731 F. App’x 408, 412 (6th Cir. 2018) (“personal injuries and their

associated pecuniary losses—including medical expenses—do not confer relief under [RICO]”).




8
  See also James v. Meow Media, Inc., 90 F. Supp. 2d 798, 818 (W.D. Ky. 2000) (dismissing RICO
claim where criminal’s “intervening acts served as a superseding cause which broke the required
causal connection needed … to establish civil RICO liability”), aff’d, 300 F.3d 683 (6th Cir. 2002);
Edmondson v. AZ Petition Partners, LLC, 2012 WL 3637769, at *10–12 (E.D. Ky. Aug. 22, 2012)
(dismissing RICO claim as “Plaintiff's asserted injury here is the result of actions separate from
the alleged RICO predicate offenses”).

                                                - 16 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 23 of 28. PageID #: 492572




        This Court concluded that the Sixth Circuit’s decision in Jackson applies only when “the

alleged RICO injury merely acts as an alternate theory for recovering damages otherwise available

in a tort claim for personal injury and is asserted by the plaintiff him- or herself.” Order at 35

(quoting Dkt. 1203 at 14). But there are reasonable grounds to disagree with that conclusion

because it is contrary to Sixth Circuit authority holding that it is the “nature of the injury” that

determines whether Jackson applies, not the identity of the parties. Brown v. Ajax Paving Indus.,

Inc., 752 F.3d 656, 658 (6th Cir. 2014) (emphasis in original). In any event, if an individual

suffered personal injury as a result of Distributors’ alleged conduct, then the individual could

recover in tort for that personal injury. 9

        This Court’s reasoning confirms that there is substantial ground for difference of opinion

on this question. The Court explained that, in “its Summit County opinion and order, the Court

expressed reservations about whether a RICO plaintiff can recoup actual monetary costs paid as a

result of treatment provided to or medical expenses incurred by third-party individuals for whom

the RICO plaintiff had some obligation to provide or pay for care.” Order at 35. And the Court

acknowledged that “none of the [third-party payor] cases on which [it] relies address whether a

[third-party payor] is entitled to compensation for payments it made for the medical care and

treatment of an injured member or insured.” Order at 38. Accordingly, there is reasonable ground




9
  This Court also has read Jackson narrowly to conclude that “perhaps” only “pecuniary losses
[that] arise directly out of a personal injury” are non-recoverable. In re Nat’l Prescription Opiate
Litig., 2018 WL 6628898, at *7; see Order at 36–37 (incorporating prior opinion). But a reasonable
jurist could conclude that reading does not square with Jackson’s unqualified holding. Moreover,
the Court’s conclusion supports dismissal here because—unlike in the Summit County case, where
the local government plaintiffs sought to recover for law enforcement and other expenses—the
expenditures the Third-Party Payors seek to recover are expenditures they made for payment of
medical claims, which indisputably arise directly out of personal injury of an individual treated.

                                               - 17 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 24 of 28. PageID #: 492573




for a difference of opinion as to the Court’s conclusion that the Third-Party Payors satisfied

RICO’s injury to “business or property” requirement.

III.   Immediate Appeal May Materially Advance the Ultimate Termination of the
       Litigation.

       It is evident that an immediate appeal to the Sixth Circuit of the RICO causation and RICO

injury rulings “may materially advance the ultimate termination of the litigation,” as set forth in

28 U.S.C. § 1292(b).

       Immediate appellate review would provide important guidance to the litigants and the

Court regarding the scope of the claims that can proceed in this case. It would either streamline

the case by dismissing the RICO claims or clarify the nature of those claims. Either way, an

appellate ruling would assist in decreasing disputes over the scope of discovery and trial

preparation.

       Immediate review of the RICO rulings, in particular, has the potential to “avoid protracted

and expensive litigation.” In re Baker, 954 F.2d at 1172; see also, e.g., W. Tenn. Chapter of Assoc.

Builders & Contractors, Inc. v. City of Memphis, 138 F. Supp. 2d 1015, 1026 (W.D. Tenn. 2000)

(“an interlocutory decision could have a major impact on the time and expense involved at trial,”

particularly in a case where “the financial and legal stakes are high”). Discovery and trial in this

matter will be more difficult practically, more complex legally, and almost surely longer if the

RICO claims are allowed to proceed because of the need to collect and present evidence regarding

each element of the RICO claim, including (1) whether there was a RICO “enterprise,” (2) whether

each defendant played a role in directing the affairs of the alleged criminal enterprise, and

(3) whether each defendant committed two or more RICO “predicate acts” in service of a purported

enterprise. See 18 U.S.C. § 1962(c); Ouwinga v. Benistar 419 Plan Servs., Inc., 694 F.3d 783,

791–96 (6th Cir. 2012) (discussing RICO elements). The potential to avoid complications related


                                               - 18 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 25 of 28. PageID #: 492574




to the RICO claims during discovery, summary judgment, and any subsequent trial on the merits

amply justifies immediate appellate review. See, e.g., Popular Leasing U.S.A., Inc. v. Forman,

2009 WL 2969519, at *3 (D.N.J. Sept. 14, 2009) (Section 1292(b) satisfied where immediate

appeal had potential for “eliminating complex issues and thereby simplifying discovery”); United

States v. Philip Morris USA Inc., 2004 WL 1514215, at *3 (D.D.C. June 25, 2004) (certifying

RICO issue under Section 1292(b); “[t]here is no question that an interlocutory appeal of this

discrete and central legal issue would conserve the resources of the Court and the parties”).

       This Court also analyzed the RICO causation and injury issues in terms of RICO

“standing.” Order at 33–37. Distributors’ entitlement to dismissal of the Third-Party Payor RICO

claims on standing grounds is also a significant basis supporting this certification request.

Appellate guidance regarding such threshold questions—whether labelled as standing or the

elements of the claim—are especially well-suited for interlocutory review. See, e.g., Winnett v.

Caterpillar, Inc., 2007 WL 2123905, at *6 (M.D. Tenn. July 20, 2007) (“The interlocutory

determination of threshold issues, such as standing, may be particularly helpful in advancing the

ultimate termination of the litigation.” (quotation omitted)). There can be little question that

immediate review of this Court’s RICO rulings “will potentially save substantial judicial resources

and litigant expense.” City of Memphis, 138 F. Supp. 2d at 1026.

       Moreover, unless and until the Sixth Circuit determines whether the Third-Party-Payors’

RICO claims are legally sustainable, the parties’ very different views on the validity of those

claims—and, in turn, the prospect of treble damages—will be a significant obstacle to any

meaningful discussions about an alternative resolution of the litigation. Numerous courts have

recognized that an interlocutory appeal is warranted when “uncertainty about the status of [one of

plaintiffs’] claims may delay settlement … and by doing so further protract the litigation.” Sterk,



                                              - 19 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 26 of 28. PageID #: 492575




672 F.3d at 536; see also, e.g., Susan B. Anthony List v. Driehaus, 2011 WL 5299378, at *2 (S.D.

Ohio Nov. 2, 2011) (interlocutory appeal may “materially advance the ultimate termination of the

litigation” in part because “an affirmance may well spur the parties to settle”); In re Blue Cross

Blue Shield Antitrust Litig., 2018 WL 3326850, at *6 n.5 (N.D. Ala. June 12, 2018) (in a large,

complex MDL, “it is … plain that [granting interlocutory review] will likely affect the parties’

settlement prospects”).

       The prospect of treble damages mandated by RICO substantially skews the settlement

calculus to a far greater degree than many other issues. Plaintiffs have every incentive to maintain

their RICO claim for treble damages to take their chances at trial, and the legal authority supporting

the argument that the RICO claims are inadequate as a matter of law gives Distributors every

incentive to continue to seek to defeat the claims through summary judgment, trial, and appeal.

Certification of an immediate appeal on the issue will shorten the road to any possible settlement,

with the potential for savings in litigation and opportunity costs for the court and the litigants.

       This Court’s denial of the earlier motion to certify an interlocutory appeal in the Summit

County case does not undermine this request for certification. The Court there deemed it imprudent

to add what it viewed to be “the additional burden of briefing and arguing an appeal” when the

parties were just months away from a trial and were already significantly burdened by that

schedule. Dkt. 1283 at 2. There is no imminent trial scheduled in this case. Indeed, to the contrary,

discovery has not yet even begun. An immediate appeal on the RICO causation and injury rulings

is “the best way to advance the process” here. Id.

                                          CONCLUSION

       Distributors respectfully request that the Court enter the attached Proposed Order certifying

under 28 U.S.C. § 1292(b) the Court’s February 21, 2020 Order denying in part their motion to

dismiss claims asserted by the Third-Party Payors, for purposes of an immediate appeal of the
                                                - 20 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 27 of 28. PageID #: 492576




Court’s rulings that denied dismissal of the RICO claims on the RICO “by reason of” direct harm

and proximate cause requirement, and the RICO requirement of injury to “business or property.”



DATED:        April 7, 2020                               Respectfully submitted,


/s/ Mark H. Lynch                                         /s/ Robert A. Nicholas
Mark H. Lynch                                             Robert A. Nicholas
Geoffrey E. Hobart                                        Shannon E. McClure
Christian J. Pistilli                                     REED SMITH LLP
COVINGTON & BURLING LLP                                   Three Logan Square
One CityCenter                                            1717 Arch Street, Suite 3100
850 Tenth Street N.W.                                     Philadelphia, PA 19103
Washington, DC 20001                                      Tel.: (215) 851-8100
Tel: (202) 662-5281                                       Fax: (215) 851-1420
mlynch@cov.com                                            rnicholas@reedsmith.com
ghobart@cov.com                                           smcclure@reedsmith.com
cpistilli@cov.com

Counsel for McKesson Corporation                          Counsel for AmerisourceBergen
                                                          Drug Corporation


/s/ Enu Mainigi
Enu Mainigi
F. Lane Heard III
Ashley W. Hardin
WILLIAMS & CONNOLLY LLP
725 Twelfth Street, NW
Washington, DC 20005
Tel: (202) 434-5000
Fax: (202) 434-5029
EMainigi@wc.com
lheard@wc.com
ahardin@wc.com

Counsel for Cardinal Health, Inc.




                                            - 21 -
Case: 1:17-md-02804-DAP Doc #: 3257-1 Filed: 04/07/20 28 of 28. PageID #: 492577




                          LOCAL RULE 7.1(F) CERTIFICATION

       Pursuant to Case Management Order No. 1, Dkt. 232 and 4 (Dkt. 485), and Local Rule

7.1(f), Distributors are permitted to file memoranda relating to dispositive motions of up to 30

pages. This memorandum adheres to that limit.

                                                           /s/ Mark H. Lynch
                                                           Mark H. Lynch




                                             - 22 -
